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                                           UNITED STATES DISTRICT COURT
                                            MIDDLE DISTRICT OF FLORIDA
                                                  TAMPA DIVISION



            MACKENZIE CAUDLE,

                    Plaintiff,

            v.

            COOPER'S HAWK INTERMEDIATE HOLDING, LLC.,
            d/b/a COOPER’S HAWK TAMPA, LLC.,

                  Defendant.
            ______________________________________/

                                   COMPLAINT AND DEMAND FOR JURY TRIAL

                    1.       Plaintiff, Mackenzie Caudle, by and through their undersigned

            counsel, hereby bring this action for unpaid minimum wages against Defendant,

            Coopers Hawk Tampa, LLC., (hereinafter “Defendant”), pursuant to the Fair Labor

            Standards Act, as amended, 29 U.S.C. § 201-216 (the “FLSA”) and Florida’s

            Minimum Wage Act (“FMWA”). In support of her Complaint, Plaintiff states as

            follows:

                                                             Parties

                    2.       Plaintiffs reside in Hillsborough County, Florida.

                    3.       Defendant operates as a restaurant in Hillsborough County, Florida.
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                    4.       Defendant operates as a restaurant doing business as “Cooper’s

            Hawk”.

                    5.       Plaintiff was employed by Defendant as a server.

                    6.       Defendant directly hired Plaintiff as server for Defendant.

                    7.       Defendant managed Plaintiff’s daily tasks and assignments.

                    8.       Defendant supervised Plaintiff and created Plaintiff’s work schedules.

                    9.       Defendant determined Plaintiff’s pay structure and approved

            Plaintiff’s timesheets.

                    10.      Plaintiff Mackenzie Caudle was employed by Defendant from

            approximately March 8, 2021, until May 11, 2023.

                                                             Jurisdiction

                    11.      Defendant owns and operates a restaurant in Hillsborough County,

            Florida.

                    12.      Defendant hired and supervised Plaintiff in Hillsborough County,

            Florida.

                    13.      Defendant employed Plaintiff as a server in its restaurant in

            Hillsborough County, Florida.

                    14.      Defendant suffered and permitted Plaintiff to work as a server in

            Defendant’s restaurant in Hillsborough County, Florida.

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                    15.      At all times during her employment, Plaintiff was employed by

            Defendant as a non-exempt employee in Hillsborough County, Florida.

                    16.      All events giving rise to this action occurred in Hillsborough County,

            Florida, Florida.

                                                             Facts

                    17.      Plaintiff was employed by Defendant as a server.

                    18.      As a server, Plaintiff’s duties included greeting diners, taking orders,

            and carrying meals and beverages to guests.

                    19.      However, during downtime, Plaintiff was required to clean the

            restaurant and prepare silverware.

                    20.      Plaintiff spent 90 minutes or more each day preparing silverware.

                    21.      Plaintiff was unable to earn a tip from Defendant’s guests while she

            was preparing silverware for Defendant.

                    22.      Despite Plaintiff’s inability to earn a tip while preparing silverware,

            Defendant paid Plaintiff the tipped minimum wage for all the time Plaintiff spent

            preparing silverware.

                    23.      Because Plaintiff could not earn a tip while preparing silverware,

            Plaintiff was entitled to be paid at least the federal minimum wage; not the lesser

            “Florida tipped minimum wage.”

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                    24.      Because Plaintiff could not earn a tip while preparing silverware,

            Plaintiff was entitled to be paid at least Florida’s minimum wage; not the lesser

            “Florida tipped minimum wage.”

                    25.      Defendant paid Plaintiff on an hourly basis at the Florida tipped

            minimum wage.

                    26.      From Plaintiff’s hire on March 8, 2021, until September 29, 2021,

            Defendant paid Plaintiff Florida’s tipped minimum wage of $5.63 per hour for all

            hours worked.

                    27.      From September 30, 2021, until September 29, 2022, Defendant paid

            Plaintiff Florida’s tipped minimum wage of $6.98 per hour for all hours worked.

                    28.      From September 30, 2022, until May 11, 2023, Defendant paid

            Plaintiff Florida’s tipped minimum wage of $7.98 per hour for all hours worked.

                    29.      From March 8, 2021, until May 11, 2023, the federal minimum wage

            was $7.25 per hour.

                    30.      Defendant should not have paid Plaintiff Florida’s tipped minimum

            wage for all hours worked and instead should have paid Plaintiff Florida’s

            minimum wage when she worked in a non-tip earning capacity, such as preparing

            silverware.




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                    31.      Defendant violated the minimum wage provision of the FLSA when

            Defendant paid Plaintiff $5.63 per hour and $6.98 per hour for the performance of

            non-tipped work, i.e. preparing silverware, because the hourly rate was less than

            the federal minimum wage of $7.25 per hour.

                    32.      Defendant should not have taken a “tip credit” when Plaintiff had no

            opportunity to earn a tip.

                    33.      Defendant violated the minimum wage provision of the FMWA when

            Defendant paid Plaintiff $5.63 per hour, $6.98 per hour, and $7.98 per hour for the

            performance of non-tipped work, i.e. preparing silverware.

                    34.      Plaintiff should have been paid Florida’s minimum wage when she

            performed non-tipped work and Defendant should not have taken a “tip credit”

            when Plaintiff had no opportunity to earn a tip.

                    35.      Defendant failed to pay Plaintiff appropriate minimum wages during

            nearly every week of Plaintiff’s employment.

                    36.      At all times during Plaintiff’s employment, Plaintiff was a non-

            exempt employee to be paid on an hourly basis and not subject to any minimum

            exemptions or exceptions.

                    37.      Plaintiff was entitled to earn at least minimum wages for all hours

            worked for Defendant.

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                    38.      Plaintiff was not paid at least the minimum wage for all non-tipped

            hours worked for Defendant during her employment.

                    39.      Defendant received a significant benefit from Plaintiff’s work and

            provision of services to Defendant and on Defendant’s behalf.

                    40.      Defendant engaged in an illegal policy of suffering and permitting

            Plaintiff to perform non-tipped work at a rate significantly below the state or

            federal minimum wage.

                    41.      Specifically, Defendant preyed upon Plaintiff, by extracting non-

            tipped work from her at a discounted rate.

                    42.      Essentially, Defendant engaged in involuntary servitude of the

            Plaintiff.

                    43.      As of this date, Plaintiff still has not been paid the entirety of her

            wages and has not been compensated for the full extent of their damages and wage

            losses under the FLSA.

                    44.      Plaintiff seeks full compensation, including unpaid wages and unpaid

            minimum wages, liquidated damages, attorney’s fees, and costs because Defendant

            conduct in refusing to pay Plaintiff at least minimum wages for all non-tipped

            hours worked was a calculated attempt to extract additional work out of Plaintiff

            for the benefit of Defendant.

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                     45.     Defendant, at all relevant times to this complaint, was Plaintiff’s

            employer as defined by 29 U.S.C. § 203(d).

                     46.     This action is brought under the FLSA to recover from Defendant

            unpaid minimum wages, liquidated damages, and reasonable attorneys’ fees and

            costs.

                     47.     The Court has jurisdiction over Plaintiff’s claims as material events

            transpired in Hillsborough County, including those brought pursuant to 28 U.S.C. §

            1337 and the FLSA.

                     48.     At all material times relevant to this action, Defendant was an

            enterprise covered by the FLSA, and as defined by 29 U.S.C. § 203(r) and 203(s).

            Upon information and belief, including Plaintiff’s experience with Defendant, as

            well as the sheer size of Defendant’s restaurant conglomerate, suggests that

            Defendant is a multi-million-dollar operation that has considerable expertise in the

            winery and restaurant industry. Accordingly, Plaintiff alleges that enterprise

            coverage is present in this case because Defendant has an annual volume of at least

            $500,000.00 in revenue and has two or more employees that handle goods in

            commerce, including wine, food, goods, materials and supplies, who also use

            telephones, fax machines and other instrumentalities of commerce.




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                    49.      Plaintiff did not participate in the creation of budgets for Defendant or

            participate in corporate strategy or planning. Plaintiff did not implement legal

            compliance measures.

                    50.      At all times relevant to this action, Defendant failed to comply with

            29 U.S.C. §§ 201-209, because Plaintiff performed services for Defendant for

            which no provisions were made by Defendant to properly pay Plaintiff minimum

            wages for all non-tipped hours worked during her employment.

                    51.      Defendant is in exclusive possession of the majority of relevant

            records in this case, including payroll records, timesheets, schedules and other

            documentation that might reasonably assist Plaintiff with providing even greater

            specificity regarding the precise amount owed to Plaintiff.

                    52.      However, Plaintiff alleges that she routinely performed 90

            consecutive minutes non-tipped work for Defendant at a rate less than the

            appropriate minimum wage. Plaintiff estimates that in total, she performed 791

            hours of non-tipped work at a rate below the minimum wage.

                    53.      Plaintiff has been financially damaged by Defendant’s failure to

            properly compensate Plaintiff for all hours worked.




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                                    COUNT I – FLSA UNPAID MINIMUM WAGES

                    54.      Plaintiff reincorporates and readopts all allegations contained in

            Paragraphs 1-53, above.

                    55.      Plaintiff was employed by Defendant as a non-exempt employee in

            Hillsborough County, Florida.

                    56.      Plaintiff worked for Defendant in Hillsborough County, Florida.

                    57.      Plaintiff was entitled to be at least minimum wages for all non-tipped

            hours worked for Defendant.

                    58.      Defendant engaged in an illegal policy of not paying Plaintiff at least

            minimum wages for all non-tipped work performed by Plaintiff during her

            employment.

                    59.      Plaintiff was damaged by Defendant’s refusal to pay Plaintiff

            minimum wages for all non-tipped work performed by Plaintiff.

                    60.      As a result of Defendant’s willful violation of the FLSA, Plaintiff is

            entitled to payment of the unpaid wages and unpaid minimum wages, liquidated

            damages, attorney’s fees, and costs.

                    61.      Plaintiff demands a trial by jury.




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                                  COUNT II – FMWA UNPAID MINIMUM WAGES

                    62.      Plaintiff reincorporates and readopts all allegations contained in

            Paragraphs 1-53, above.

                    63.      Plaintiff was employed by Defendant as a non-exempt employee in

            Hillsborough County, Florida.

                    64.      Plaintiff worked for Defendant in Hillsborough County.

                    65.      Plaintiff was entitled to be paid at least minimum wages for all non-

            tipped hours worked for Defendant.

                    66.      Defendant engaged in an illegal policy of not paying Plaintiff at least

            minimum wages for all non-tipped hours worked during her employment.

                    67.      Plaintiff was damaged by Defendant’s refusal to pay minimum wages

            to Plaintiff for all non-tipped hours worked for Defendant.

                    68.      As a result of Defendant’s willful violation of the FLSA, Plaintiff is

            entitled to payment of the unpaid minimum wages, unpaid wages, liquidated

            damages, attorney’s fees, and costs.

                    69.      Plaintiff demands a trial by jury.




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                               DECLARATION PURSUANT TO 28 U.S.C. SECTION 1746

            I HEREBY AFFIRM THAT THE FACTUAL STATEMENTS MADE ABOVE ARE TRUE
            AND CORRECT, UNDER PENALTY OF PERJURY.

                          8/7/2023
            DATED: ___________________________________
                                 Mackenzie Caudle
            PRINT NAME: ______________________________

            SIGNATURE: _______________________________


            WHEREFORE, Plaintiffs demand judgment against Defendants, including, but not

            limited to, unpaid minimum wages, liquidated damages, together with costs and

            attorney’s fees pursuant to Florida’s Minimum Wage Act and the FLSA, and such

            other further relief as this Court deems just and proper.

                                                  DATED: August 8, 2023


                                                    /S/ Kyle J. Lee
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